Case 3:17-cv-00072-NKM-JCH Document 1122 Filed 09/27/21 Page 1of2 Pageid#: 18324

Elizabeth Sines, et al

v

Jason Kessler, et al

IN THE UNITED STATES DISTRICT COURT FOR THE
CLERK'S OFFICE U.S. DIST, COURT

WESTERN DISTRICT OF VIRGINIA AT CHARLOTTESVILE, VA
FILED
Charlottesville Division
‘ oe SEP 27 2021

  

Plaintiffs
Case No: 3:17-cv-072-NKM

Defendants

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MOTION IN LEMINE TO PROVIDE CANTWELL WITH ACCESS TO THE
- DISCOVERY? ANB-RECESSARY LEGAL MATERIALS AT TRIAL

Comes Now the Defendant, Christopher Cantwell, and, he Moves this Court

In Limine To Provide him With Access To The Discovery And Necessary

Legal Materials At Trial. In support, he states as follows:

1)

2)

Writ of Habeas Corpus Ad Testificandum has been granted ordering

the US Marshals Service ("USMS") to transport Cantwell to this
District to defend himself at trial in this matter. Though in theory
the USMS allows a person to transport Tegal materials with them in
some: cases, in practice, this never actually occurs, Further, as
Cantwell has previously averred, he has been separated from much

of his Tegal material and/or has inadequate facilities with which

to access it while at USP-Marion.

Because Cantwell intends to present certain videos, related trans-~
scripts, and/or, other evidence at trial during examination or cross-
examination of the witnesses, and, because he will not be able as

a practical matter to transport that material to the Court, he asks
that this Court make arrangements for ail of the discovery material

in this matter to be made available to him along with any equipment

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necessary to present such exhibits to the jury. Cantwell will

gladly work with the Clerk and/or Plaintiffs to try to predict

what matertals will be needed for any given day of trial if the
Plaintiffs have some idea in what order they will call their

witnesses and how much time they will need.

3) Cantwell also requests that the Federal Rules of Evidence and of

Civil Procedure be made available to him at the Defendants' table

-at trial.

Respectfully Submitted,

[=_—

Christopher Cantweli
USP-Marion

PO Box 1000

Marion, IL 62959

CERTIFICATE OF SERVICE

I hereby certify that this Motion in Limine was mailed to the Clerk of
the Court, Ist Class Postage Prepaid, for posting upon the ECF, to which
all parties are subscribed, and, was handed to USP-Marion staff members .
Nathan Simpkins and/or Kathy Hill for electronic transmission to the
Court this 27th day df September, 2021.
C-/73
LL

a —
Christopher Cantwell
